872 F.2d 417
    Joyner (Benjamin A.)v.McKellar (Ken), Leeke (William D.), Saldino (Pete), Hinson(H.L.), Santiago (J.), Woodard (J.), Days (T.), Waters (Al),Barnwell (Debbie), Raysor (Natalie), Taylor (Blake), Wallace(W.), Grant (E.), Perry Correctional Institution, CentralCorrectional Institution
    NO. 88-7241
    United States Court of Appeals,Fourth Circuit.
    MAR 29, 1989
    
      1
      Appeal From:  D.S.C.
    
    
      2
      IFP GRANTED-AFFIRMED.
    
    